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Case 3:14-cv-05358-FLW-LHG Document 2 Filed 08/26/14 Page 1 of 2 PagelD: 39

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

Civil Action No.

Channel Methods Partners, LLC,

a New Jersey limited liability company
PHARMATEC INC.’S RULE 7.1

Plaintiff. CORPORATE DISCLOSURE
Vv.
Pharmatec, Inc.,
a Colorado corporation

Defendant.

Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure, the undersigned counsel
of record for Defendant Pharmatec, Inc., a private (non-governmental) party, hereby states that
Pharmatec, Inc. has no parent corporation and there is no publicly held corporation that owns
more than 10% of Pharmatec, Inc.’s stock.

Respectfully submitted August 26, 2014.

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Maritza Dominguez Braswell
NJ Attorney ID: 016222008
Jones & Keller, P.C.

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Attorney for Defendant Pharmatech, Inc.

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CERTIFICATE OF SERVICE

I hereby certify that on August 26, 2014, a true and correct copy of the foregoing
PHARMATEC, INC.’S RULE 7.1 CORPORATE DISCLOSURE was served via

U.S. Mail, overnight delivery, to the following:

Sean G. Deverin, Esq.
160 White Road, Suite 204
Little Silver, NJ 07739

Martta beacr

Martha Beach

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